     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 1 of 35



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
UNITED STATES OF AMERICA            :
                                    :
                                    :               19-cr-850 (JSR)
          -v-                       :
                                    :
PARKER H. PETIT and WILLIAM TAYLOR, :               OPINION AND ORDER
                                    :
                                    :
               Defendants.          :
------------------------------------x

JED S. RAKOFF, U.S.D.J.

     On November 19, 2020, defendant Parker H. Petit was convicted

of one count of substantive securities fraud and defendant William

Taylor    was   convicted   of   one   count   of   conspiring   to   commit

securities fraud, to make false statements in filings with the

Securities and Exchange Commission (“SEC”), and to mislead the

conduct of audits. Now before the Court are the respective motions

of defendants for a judgment of acquittal under Federal Rule of

Criminal Procedure 29 and, in the alternative, for a new trial

under Rule 33. For the reasons set forth below, the motions are

denied.

                                 Background

     The Indictment in this case charged both defendants with two

counts: Count One charged a conspiracy to commit securities fraud,

make false filings with the SEC, and improperly influence the

conduct of audits, in violation of 18 U.S.C. § 371. Count Two

charged substantive securities fraud, in violation of 15 U.S.C.

                                       1
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 2 of 35



§§ 78j(b) and 78ff and 17 C.F.R. § 240.10b-5. Dkt. No. 1 (the

“Indictment”).

       The defendants were high-level executives of MiMedx Group,

Inc.   (“MiMedx”),      a    publicly    traded         biomedical         company.     Petit

served   as   MiMedx’s      CEO,     while       Taylor    was the         company’s    COO.

Indictment ¶¶ 2, 3. During the years prior to 2016, the company

enjoyed success with investors, allegedly because it continuously

met its quarterly revenue goals and predictions (known as “revenue

guidance.”). The Indictment alleges that around 2015, however,

MiMedx struggled to reach its publicly-stated revenue guidance

because of decreased demand from distributers of its products.

Indictment ¶ 19. Confronted with these difficulties, Petit and

Taylor engaged in a fraudulent scheme to falsely recognize revenue

prematurely      upon   the    shipment          of     products      to    some   of    its

distributers. Id. The Indictment alleges that Petit and Taylor

entered into secret side agreements with four distributers -- known

as CPM, SLR, Stability Biologics (“Stability”), and First Medical

-- to hide from the company’s accountants and outside auditors the

fact that, as to certain sales to those distributers, the criteria

for    revenue    recognition        under       generally      accepted       accounting

principles       (“GAAP”),     had    not        been     met   and    that     therefore

recognizing the revenues from those sales was not proper. See id.

¶¶ 19-59.



                                             2
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 3 of 35



     At the end of the Government’s case, both defendants made

motions for a judgment of acquittal on both of the charges, on the

ground of insufficiency of evidence pursuant to Federal Rule of

Criminal Procedure 29. The Court denied both motions. See Tr. 2185

(denying Taylor’s motion); id. at 2189 (denying Petit’s motion).1

Defendants now renew their respective Rule 29 motions and, in the

alternative, seek new trials under Rule 33.

                            Rule 29 Motions

I.   Legal Standard

     “On a motion for judgment of acquittal pursuant to Federal

Rule of Criminal Procedure 29, the court must determine whether,

after viewing the evidence in the light most favorable to the

prosecution, any rational trier of fact could have found the

essential elements of the crime beyond a reasonable doubt.” United

States v. Aguiar, 737 F.3d 251, 264 (2d Cir. 2013).2 Unless “the

evidence   that   the   defendant   committed   the   crime   alleged   is

nonexistent or so meager that no reasonable jury could find guilt



1    Apart from his sufficiency argument, Taylor also contended
that the Government had not offered evidence to establish that the
false statements Taylor caused to be made regarding MiMedx’s
reported revenue were made “in connection with the purchase or
sale of [a] security.” 15 U.S.C. § 78j(b). The Court initially
reserved decision on the “purchase or sale” issue, Tr. 2185, but
later denied this prong of the motion as well, id. at 2309-2310.

2    Unless otherwise indicated, in quoting cases all internal
quotation marks, alterations, emphases, footnotes, and citations
are omitted.
                                    3
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 4 of 35



beyond a reasonable doubt,” a Rule 29 motion must be denied. United

States v. Cuti, 720 F.3d 453, 461 (2d Cir. 2013). “The evidence

must be considered in its totality, not in isolation, and the

government need not negate every theory of innocence.” Aguiar, 737

at    264.   Witness       testimony that    is   “incredible on   its face,”

however, does not meet the threshold for sufficiency. United States

v. Truman, 688 F.3d 129, 139 (2d Cir. 2012).

II.    Discussion

       A. Petit’s Security Fraud Conviction

       As mentioned, Petit was convicted on one count of substantive

securities fraud under 15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. §

240.10b-5. To prevail on his Rule 29 motion, Petit must establish

that no reasonable jury could have found “that in connection with

the purchase or sale of a security the defendant, acting with

scienter,     made     a    material   misrepresentation    (or    a   material

omission if the defendant had a duty to speak) or used a fraudulent

device,” and that he “willfully violated the law.” United States

v. Vilar, 729 F.3d 62, 88 (2d Cir. 2013). Petit maintains that he

is entitled to a judgment of acquittal because the Government

failed to prove either (1) that MiMedx’s revenues were actually

recorded in violation of GAAP; and/or (2) that to the extent the

revenues were improperly recorded, Petit knew the revenues were

improperly recorded and that he intended to deceive investors

thereby. Memorandum of Law in Support of Defendant Parker H.

                                         4
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 5 of 35



Petit’s Motion for a Judgment of Acquittal or for a New Trial

(“Petit Mem.”), Dkt. No. 124, at 5.


                   1. Whether the Government had to Prove GAAP
                      Violations

     Petit argues that the Government failed to meet its burden of

proof because it did not present expert testimony that MiMedx’s

recorded revenues did not comply with GAAP. The Government responds

that it need not establish a GAAP violation in order to prove

accounting fraud, let alone by expert testimony. The Government’s

Memorandum of Law in Opposition to Defendants’ Motions for a

Judgment of Acquittal or a New Trial (“Gov. Opp.”), Dkt. No. 139,

at 19.

     It is well-established in this Circuit that securities fraud

may be proved, even where improper accounting is alleged as the

basis for misrepresentation, without showing violations of GAAP.

See United States v. Rigas, 490 F.3d 208, 220 (2d Cir. 2007)

(citing United States v. Simon, 425 F.2d 796, 805–06 (2d Cir. 1969)

(Friendly, J.)); see also United States v. Ebbers, 458 F.3d 110,

125 (2d Cir. 2006) (So long as “the government proves that a

defendant was responsible for financial reports that intentionally

and materially misled investors, the [penalty provision of the

Exchange Act] is satisfied,” even if the challenged accounting

method   were   technically   proper   under   some   GAAP   rule).    Thus,

“compliance with GAAP is relevant only as evidence of whether a

                                   5
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 6 of 35



defendant acted in good faith.” Rigas, 490 F.3d at 220; see also

Ebbers, 458 F.3d at 125 (“GAAP may have relevance in that a

defendant’s good faith attempt to comply with GAAP or reliance

upon    an    accountant’s         advice    regarding      GAAP   may   negate    the

government’s claim of an intent to deceive.”).

       Petit’s efforts to distinguish these cases are unavailing. He

argues that “while the law is well established in the Second

Circuit that the Government need not present expert testimony to

support every securities fraud conviction, it was required to do

so here where a violation of the revenue recognition rules under

GAAP was the linchpin of the Government’s case.” Petit Mem. at 8.

Petit    points      out    that     the    Rigas      court   explained   that    the

“government was not required to present expert testimony about

GAAP’s requirements because these requirements are not essential

to the securities fraud alleged here.” 490 F.3d at 220-21 (emphasis

added). Petit contends that unlike in Rigas, where the indictment

contained a single reference to GAAP, here the “Indictment devotes

an   entire    section      to GAAP        and    revenue   recognition rules and

specifically alleges that [the defendants] understood the rules

and their application.” Petit Mem. at 7.

       Although Petit is correct that the Indictment in this case

quotes more extensively from GAAP than the indictment in Rigas,

that    is   irrelevant.      In     Rigas,      the   panel   explained   that    the

Government     was    not    required        to    introduce    evidence   of     GAAP

                                             6
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 7 of 35



miscompliance      because      “[t]he   jury       heard   testimony      that    the

[challenged     accounting      methods]     were    specifically     designed       to

mislead investors about the amount of money the [defendants] and

their other companies owed [the company at issue], and it could

have reasonably found that Defendants committed fraud.” 490 F.3d

at 221. Thus, “[e]ven if Defendants complied with GAAP, a jury

could    have   found   .   .   . that     Defendants       intentionally    misled

investors” and were therefore guilty of securities fraud. Likewise

here, the Government introduced sufficient evidence, which is

reviewed below, from which a reasonable jury could have concluded

that    Petit   specifically      intended      to    mislead    investors        about

MiMedx’s revenue by causing the company to report revenue figures

that, had the true terms of certain transactions been disclosed to

the company’s accountants and outside auditors, would have been

materially lower. Such evidence is sufficient to sustain his

securities      fraud   conviction,      regardless         whether   or    not    the

particular accounting methods happened to comply with GAAP.


                     2. Whether the Government Sufficiently Proved
                        Fraudulent Intent

       Petit’s next argument is that no reasonable jury could have

found that he intended to defraud investors. He claims that the

Government’s evidence showed, at most, (1) that he was motivated

to report favorable revenue figures for MiMedx because he stood to

gain financially from doing so; and (2) that he failed to disclose

                                         7
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 8 of 35



material sales terms to the company’s accountants and outside

auditors. Petit Mem. at 8-12. Relying on United States v. Goyal,

629 F.3d 912 (9th Cir. 2010), Petit argues that the first category

of evidence is insufficient because his “desire to meet . . . .

revenue targets, and his knowledge of and participation in deals

to help make that happen” is “simply evidence of [his] doing his

job diligently,” id. at 919, and the second category of evidence

is insufficient because allowing a jury to infer fraudulent intent

simply from an executive’s failure to turn over certain information

to accountants and outside auditors would make “a strict-liability

crime out of one that requires willful and knowing deception,” id.

at 921-922.

     Goyal, a Ninth Circuit decision, is, of course, not binding

on this Court.3 But, in any event, it is also, as the Government

observes, distinguishable. Unlike in Goyal, where the evidence

showed only that the defendant failed to disclose certain terms to



3    In fact, Goyal may well be inconsistent with the law of the
Second Circuit. In Goyal, the defendant was convicted of, inter
alia, securities fraud for “concealing the allegedly improper
accounting from [the company’s] outside auditors and for filing
reports with the Securities and Exchange Commission that, because
of [the Company’s] accounting, allegedly misstated revenue.” Id.
at 913. The panel explained that “[t]he government’s contention
that [the company] materially overstated its revenue necessarily
entailed” the claim that the company “actually violated GAAP.” Id.
at 915. To the extent that Goyal holds that, where improper
accounting is alleged as the basis for misrepresentation,
securities fraud must be proved by showing GAAP violations, it is
inconsistent with the law of the Second Circuit.

                                   8
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 9 of 35



the     auditors,     here,    the    evidence         showed        that   Petit     “acted

affirmatively to hide” evidence of the side deals from them.

Indeed, Goyal itself suggests that                     such evidence of “willful

concealment” could support an inference of fraudulent intent. So

long as the evidence, taken in the light most favorable to the

Government, allowed the jury to find that Petit was responsible

for financial reports that, as he intended, materially misled

investors, that is sufficient to sustain his conviction.

       The jury had ample evidence to make such a finding. Consider,

for example, the SLR transaction. The Government sought to show

that,    in    the    third   quarter     of     2015,    Petit       caused       MiMedx   to

fraudulently recognize $4.6 million in revenue for a large sale to

SLR. See Tr. 2249. The Government’s theory was that to conceal the

fact    that    the    collectability          of    payments        from    SLR    was     not

reasonably      assured       --   one    of     the    requirements         for      revenue

recognition under GAAP -- Petit arranged for his adult children to

create and use a “shell company” to secretly loan $1.5 million to

SLR, with the understanding that the loan proceeds would be used

in substantial part to pay down SLR’s debt to MiMedx. Id. at 2275.

Matt Urbizo, an outside auditor at Cherry Bekaert, testified that

if he had been made aware of the loan, he would have concluded

that the revenue was improperly recorded. Id. at 1755.

       Contrary       to   Petit’s       argument,       the    Government          produced

sufficient      evidence      to     allow     the     jury     to    find     that    Petit

                                             9
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 10 of 35



intentionally concealed the loan from the outside auditors. For

one thing, a jury could have found that the fact that Petit

structured the loan to flow through a “shell company” despite

having the means to loan the money himself meant that Petit was

trying to keep the source of the funding hidden. Furthermore, in

response to concerns raised by a member of MiMedx’s accounting

department about the propriety of recognizing revenue from SLR,

Petit approved the submission of a response to the outside auditor,

Cherry Bekaert, that, in relevant part, stated that SLR “has paid

over $1.4M since the first shipments had been made. Their payment

history to date is very similar to that of other distributors.”

GX-1118.    A   reasonable   jury    could   have    found   that       Petit

intentionally kept the existence of the SLR loan from Cherry

Bekaert in order to cause MiMedx to record the $4.6 million in

revenue during the third quarter of 2015, and that Petit would

have only done so if he believed that the existence and source of

the loan would affect how MiMedx’s quarterly revenue would be

recorded.

     Independently, a reasonable jury could have convicted Petit

on the basis of the CPM transaction. The Government sought to show

that, in the second quarter of 2015, Petit caused MiMedx to

fraudulently recognize $1.4 million in revenue for a sale to CPM.

The Government’s theory was that Petit (1) orchestrated a $200,000

sham “consulting” payment to CPM’s owner, Mark Brooks, to induce

                                    10
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 11 of 35



him to buy MiMedx product, and (2) secretly agreed to send CPM

approximately $1.2 million of product that CPM did not want and

had no intention to sell, while agreeing that CPM would return the

product to MiMedx and swap it for different product in a subsequent

quarter. See Gov. Mem. at 3-6. At trial, Urbizo, the outside

auditor, testified that if he had been made aware of the payment

and product swap, he would have concluded that the revenue was

improperly recorded in the second quarter of 2015. Tr. 1738-44.

     Again, contrary to Petit’s argument, the Government produced

sufficient     evidence    to   allow    the      jury   to    find   that   Petit

specifically intended to mislead investors about MiMedx’s revenue

by causing the company to report revenue figures from the CPM

transaction that, had the true terms of the transaction been

disclosed to the accountants and outside auditors, would have been

materially lower. For example, the Government introduced evidence

that Petit provided contradictory and inconsistent explanations as

to the purpose of the $200,000 payment, testifying under oath to

the SEC that it was for consulting work, GX 1612, telling investors

that it was for “very valid intelligence information,” GX 354, and

reporting in an email sent to MiMedx’s general counsel that the

money was intended to settle a dispute regarding MiMedx’s sales to

group    purchasing    organizations,        GX   146.   The    Government    also

introduced evidence that Petit sought to pressure Jeff Shultz, a

MiMedx employee who participated in the CPM transaction, to tell

                                        11
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 12 of 35



investigators that the payment was for lost stock. Tr. 1019. To be

sure, during closing argument, Petit sought to harmonize these

different explanations, see Tr. 2324-3248, but a reasonable jury

could have found the Government’s theory more persuasive and

concluded that Petit’s inconsistent explanations of the $200,000

payment was evidence that Petit was trying to hide its true nature.

     The same is also true with respect to the product swap.

Although Petit maintains that the Government failed to produce

evidence that he was aware of the product swap or that he willfully

concealed the swap from the accountants or outside auditors, Petit

Mem. at 14-15, there was sufficient evidence for the jury to

conclude otherwise.    For one thing, Schultz testified that he

included Petit on an email regarding the swap because Petit “had

to be aware of everything that was going on at CPM.” Tr. at 1012.

The Government also introduced evidence that Petit sent Brooks a

list of products that MiMedx expected would be coming back. GX

1041; Tr. 1331-1332 (testimony regarding the exhibit). As to

whether Petit knew the swap was wrongful, the Government elicited

testimony from Schultz and Mike Carlton, a MiMedx senior vice

president of sales, that they understood the swap arrangement made

little sense other than as a tool to artificially inflate revenue.

Tr. 617-18 (Carlton); id. at 975-76, 1013-14 (Schultz). And the

Government   introduced   an   email    from   Brent   Miller,   a   MiMedx

executive vice president, that indicated that Taylor wanted to

                                   12
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 13 of 35



manage the timing of the CPM product swap to avoid a “revenue

recognition issue,” noting that the auditors would be “here in the

end of July looking at the books.” GX 1033. Although the email

does not mention Petit, a jury could infer that, given Petit’s

involvement   in     the     CPM   negotiations,     he   shared      Taylor’s

instruction to hide the swap from the auditors.

     Taking   the   evidence in     the light most        favorable    to   the

Government, the Court concludes that the evidence against Petit

was not so meager that no reasonable jury could find guilt beyond

a reasonable doubt. On the contrary, the evidence provided ample

support for conviction on several independently sufficient bases.

Indeed, each of the evidentiary items described above were not

only sufficient to convict but also added color to one another,

reinforcing the conclusion that Petit had committed substantive

securities fraud. Accordingly, Petit’s motion for a judgment of

acquittal is denied.


     B. Taylor’s Conspiracy Conviction

     Taylor was convicted on one count of conspiracy to commit

securities fraud, make false filings with the SEC, and improperly

influence the conduct of audits, in violation of 18 U.S.C. § 371.

To prevail on his Rule 29 motion, Taylor must establish that no

reasonable jury could have found that              the charged conspiracy

existed,   that     Taylor     knowingly   and     willfully   joined       and


                                     13
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 14 of 35



participated in this conspiracy during the applicable time period,

and that at least one of the co-conspirators committed an overt

fact in furtherance of the conspiracy. See The Court’s Instructions

of Law to the Jury, Dkt. No. 127, at 22. Taylor argues that no

reasonable jury could have convicted him of the charged conspiracy

as to any of four challenged distributers.

     The Court, however, finds ample support for the jury verdict

against Taylor. For starters, the jury could have convicted Taylor

on the basis of the CPM transaction. The above-referenced email

from Brent Miller indicated that Taylor, in league with others,

wanted to manage the timing of the CPM product swap to avoid a

“revenue recognition issue,” noting that the auditors would be

“here in the end of July looking at the books.” GX 1033. Taylor

insists that the Government’s reading of this email -- that Taylor

wanted to wait until August to ship the replacement product to

conceal the right of return from the auditors -- is not only

acontextual but also contrary to the testimony of Urbizo, who

testified that the auditors received data relating to returns and

exchanges regardless of whether or when they were physically onsite

at MiMedx. Taylor Reply at 8 (citing Tr. at 1911). That Urbizo’s

testimony might be in tension with such a verdict, however, is not

enough to set it aside. Taking the evidence in the light most

favorable to the Government, a reasonable jury could have concluded



                                   14
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 15 of 35



that Taylor conspired to mislead auditors regarding key features

of the CPM transaction.

       A reasonable jury could have independently convicted Taylor

on the basis of the First Medical transaction. Central to the

Government’s First Medical case was that Taylor, in league with

others, made an undisclosed promise to First Medical that it could

return any product that it could not sell and that MiMedx would

not leave First Medical with any losses. The Government’s evidence

showed that Taylor sent two emails to First Medical regarding the

terms of the transaction: a “cover” email, on which MiMedx’s

accountants were copied, and then, just four seconds later, a

“clarification” email, sent only to First Medical, that contained

the true terms of the deal. See Gov. Mem. at 14-16.

       The Government also sought to show that Taylor, and one or

more co-conspirators, arranged for First Medical to provide to the

auditors a false audit “confirmation” that omitted the true terms

of the deal. To make this showing, the Government introduced a

text   message    exchange   between     Taylor   and   Mike   Carlton,    and

Carlton’s    testimony   about   those    messages.     In   particular,   the

Government introduced GX 1509, which contained text messages that

Taylor and Carlton exchanged on February 12, 2016 regarding the

audit confirmation letter. GX 1509 appears below.




                                     15
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 16 of 35




     On   direct   examination,    Carlton      testified    that    Taylor’s

messages, “This is separate. Just the confirm for the auditors.”

and “No extra commentary. Just sign and send.” referred to Taylor’s

desire that MiMedx’s auditors not learn of the supposed right of

return    that   MiMedx   had   granted    to    First    Medical    in    the

“clarification” email. Tr. 594–95.

     On   cross-examination,    Taylor’s     counsel     presented   DX   411,

which contained text messages that the Government had excluded

from GX 1509. DX 411 appears below.




                                   16
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 17 of 35




     Taylor   argues,   as   he   did   before   the   jury,   that   DX   411

illustrates that his comments at 12:27 p.m. had nothing to do with

First Medical. Taylor points out that the messages for the 40

minutes preceding those comments and the 75 minutes following those

comments referred to a different distributor: Athletic Surgical.

Memorandum of Law in Support of William Taylor’s Motion for a

Judgment of Acquittal or a New Trial (“Taylor Mem.”, Dkt. No. 126,

at 5. Although Carlton testified that Taylor’s 12:27 p.m. text

message referred to First Medical, not Athletic Surgical, Taylor

maintains that Carlton’s testimony is incredible on its face and

therefore cannot sustain his conviction. Taylor also points to


                                    17
      Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 18 of 35



other portions of Carlton’s testimony, where Carlton concedes that

Taylor never told him to hide the right of return from anyone. See

Tr. 755-56 (Q: “Now did Mr. Taylor ever tell you: Don’t tell

anybody about this deal we have with First Medical.” A: “He did

not.” Q: “Did he ever tell you: Don’t send this email to anybody.”

A: “He did not.” Q: “Did he ever ask you to conceal information

from anybody at MiMedx? A: “He did not.”).

      Taylor’s evidence and arguments, most of which were presented

to the jury, do not entitle him to a judgment of acquittal. For

one   thing,   a   reasonable   jury    could   have   believed   Carlton’s

testimony regarding what Taylor intended with his 12:27 p.m. text

message. In other words, Carlton’s testimony was not “incredible

on its face.” In any event, as the Government argues, the 11:39

a.m. message -- where Taylor asks to review First Medical’s audit

confirmation prior to its being transmitted to the auditors --

could also support an inference that Taylor conspired to mislead

the auditors. Thus, taking the evidence in the light most favorable

to the Government, a reasonable jury could have concluded that

Taylor conspired to mislead auditors regarding key features of the

First Medical transaction.4


4    Taylor seeks to narrow the range of conduct that the Court
can consider in assessing his motion by insisting that the jury’s
verdict “can only be understood as a rejection of the allegation
in the Indictment that Mr. Petit and Mr. Taylor conspired together
to commit securities fraud.” Taylor Mem. at 9. Because the just-
reviewed evidence, taken in the light most favorable to the
                                       18
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 19 of 35



     Taking   the    evidence in      the light most     favorable   to   the

Government, the Court concludes that the evidence against Taylor

was not so meager that no reasonable jury could find guilt beyond

a reasonable doubt. Indeed, when his various actions, taken in

concert with others, are added together, the evidence of his

participation   in    an   unlawful    conspiracy   is   very   substantial.

Accordingly, Taylor’s motion for a judgment of acquittal is denied.

                             Rule 33 Motions

I.   Legal Standard

     Federal Rule of Criminal Procedure 33 allows a district court

to vacate a judgment and grant a new trial where the evidence

“preponderates heavily against the verdict to such an extent that

it would be manifest injustice to let the verdict stand.” United



Government, would have enabled the jury to find Taylor guilty of
conspiring with persons other that Petit and/or towards objects
other than securities fraud, this issue is ultimately irrelevant
to the resolution of Taylor’s motion. Nevertheless, the Court
agrees with the Government that the Second Circuit forbids this
sort of inference, restraining a court to consider “only what the
jury’s verdicts were, not what the jury found” because “it is not
within the province of the court to attempt to determine the reason
or reasons for verdicts that are inconsistent.” United States v.
Acosta, 17 F.3d 538, 546 (2d Cir. 1994). Taylor seeks to narrow
Acosta’s holding as simply an “admonishment against trying to
harmonize inconsistent verdicts.” Reply Memorandum of Law in
Support of William Taylor’s Motion for Judgment of Acquittal or a
New Trial (“Taylor Reply”), Dkt. No. 140, at 6. But Taylor’s
argument is that it would be inconsistent of the jury to find
Taylor guilty of conspiring with Petit while also finding Petit
not guilty of conspiracy. Acosta precludes this Court from pursuing
just this line of reasoning. And, in any event, as shown above,
Taylor’s partners in crime were often people other than Petit.

                                      19
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 20 of 35



States v. Archer, 977 F.3d 181, 188 (2d Cir. 2020). A district

court    must    “defer   to   the   jury’s        resolution      of     conflicting

evidence,” unless the evidence was “patently incredible or defied

physical realities,” or an “evidentiary or instructional error

compromised     the   reliability    of      the   verdict.”       Id.    Before   the

granting the motion, a district court must have a “real concern

that an innocent person may have been convicted.” Aguiar, 737 F.3d

at 264. Here, the Court does not harbor any such concern, even

remotely.

II.   Discussion

      A. Whether the Government’s Comments Regarding Materiality
         Require a New Trial

      Petit and Taylor argue that the Court must grant a new trial

because the Government urged the jury to convict based on an

erroneous     standard    of   materiality.        During   trial,       the   defense

elicited testimony on cross-examination from Jeff Russell, an

asset manager at one of the institutional investors that held

MiMedx shares in 2015 and 2016, that “any overstatement” of a

company’s revenue “by any amount for whatever reason,” “even one

dollar,” would be “important for [Russell] to understand” because

“it speaks to the integrity of the management.” Tr. 1988-1989.

Then,     during   summation,     the     Government        made    the     following

argument:

      It’s not seriously in dispute the investors cared that
      MiMedx met their revenue guidance, and they were very

                                        20
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 21 of 35



     sensitive to issues like whether the company met its
     predictions about its quarterly revenue and whether it
     performed in line with the analyst expectations. You
     heard this from Joe Docter, that investor from
     Minnesota. He told you whether MiMedx reported revenue
     in line with what Wall Street expected in its own
     guidance was a crucial fact that he considered in
     determining whether to buy, sell or hold stock on behalf
     of his clients. Jeff Russell, who testified just
     yesterday, told you a misstatement of revenue by even a
     dollar would be of significance to him because it would
     raise concerns about integrity.
Tr. 2251-2252 (emphasis added). Petit and Taylor contend that the

Government’s   argument   “misled   the   jury   about   its   evidentiary

burden with respect to materiality.” Petit Mem. at 23.

     “In evaluating whether allegedly improper comments by the

prosecutor are grounds for reversal, the fundamental question is

whether, if there was misconduct, it caused substantial prejudice

to the defendant, thereby depriving him of his right to a fair

trial.” United States v. LaMorte, 950 F.2d 80, 83 (2d Cir. 1991).

Ordinarily, while “[t]his determination depends heavily on the

context of the case . . .[,] it is largely controlled by three

factors: (1) the severity of the misconduct; (2) curative measures

taken by the district court; and (3) the certainty of conviction

absent the misconduct.” Id. However, when, as here, the defense

totally fails to object at trial to the prosecutor’s allegedly

improper comments, a district court may not grant a new trial

“absent flagrant abuse.” United States v. Zichettello, 208 F.3d

72, 103 (2d Cir. 2000).



                                    21
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 22 of 35



       For several independent reasons, the Government’s reference

to Russell’s testimony does not provide a basis for a new trial.

First, the defense never objected at trial to the Government’s

reference to Russell’s testimony. Second, even if the reference

were improper, it did not amount to “flagrant abuse.” Indeed, the

main   thrust     of    the   point   the    Government      was   making   --   that

knowledge of a purposeful misstatement, even if itself financially

minor, would cast doubt on the integrity of the company -- was

clearly relevant. Third, turning to the third LaMorte factor, the

Court finds that the comment, even if arguably improper, had

virtually no effect on the likelihood of conviction, given that

the evidence showed that MiMedx’s revenue misstatements were in

the    millions    of    dollars.     That       is,   the   Government’s   passing

reference to Russell’s testimony is unlikely to have led the jury

to mistakenly adopt and apply an erroneous materiality standard in

this case. Finally, the Government’s summation was followed by the

Court’s instructions of law, which correctly defined materiality

(and is not challenged here).




                                            22
      Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 23 of 35



      B. Whether the Government’s Argument Regarding Athletic
         Surgical Requires a New Trial5

      During rebuttal summation, the Government addressed Taylor’s

argument that his text message exchange with Mike Carlton referred

to Athletic Surgical, rather than First Medical:

      So then they make this desperate claim, well, it was all
      actually about Athletic Surgical. Athletic Surgical,
      some other distributor. What a bizarre argument. If Bill
      Taylor is directing Athletic Surgical to give an audit
      confirm that omits the terms of the deal, well then
      obviously he is guilty of the crimes charged in the
      indictment. He’s still lying to the auditors. So even on
      the defense theory, he’s guilty.

      But you also know from the messages that Bill Taylor was
      obviously talking about First Medical, right? He's
      freaked out about the right of return. These are the
      messages that come a week before the discussion of
      Athletic Surgical. These are messages sent by Mike
      Carlton with Bill Taylor standing right there next to
      him directing him what to put in the text messages. You
      can just see that from the face of the messages.

Tr. 2459. Taylor now contends that this argument presented a new

theory of liability -- one based on Athletic Surgical, which does

not   appear   in   the   Indictment    --    that    amounted      to   either   a

constructive amendment of, or a prejudicial variance from, the

Indictment. Taylor Mem. at 15.

      Once   again,   this   argument       fails   for   several    independent

reasons. First and foremost, it is clear that the main thrust of




5    Taylor also asks for a new trial on the ground that the
evidence preponderated heavily against the verdict. Taylor Mem. at
19. For all the reasons discussed above, however, the Court finds
this argument entirely without merit.
                                       23
      Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 24 of 35



the prosecutor’s remarks was that Taylor was talking about First

Medical. Indeed, this was so obvious that no objection was raised

at trial to the prosecutor’s immediately preceding remarks.

      But even if this were not so, it would not amount to a

constructive amendment or prejudicial variance. A constructive

amendment occurs where “either the proof at trial or the trial

court’s jury instructions so altered an essential element of the

charge that, upon review, it is uncertain whether the defendant

was convicted of conduct that was the subject of the grand jury’s

indictment.” United States v. Dove, 884 F.3d 138, 146 (2d Cir.

2018). “A variance occurs when the charging terms of the indictment

are   left   unaltered,   but   the   evidence   at   trial   proves     facts

materially different from those alleged in the indictment.” Id. at

149. “Although the distinction between constructive amendment and

variance may appear merely one of degree, there is an important

difference in outcome: a constructive amendment of the indictment

is considered to be a per se violation of the grand jury clause,

while a defendant must show prejudice in order to prevail on a

variance claim.” United States v. Salmonese, 352 F.3d 608, 621 (2d

Cir. 2003).

      Taylor not only failed to object at trial to the above-quoted

remarks, he also failed to raise these claims of constructive

amendment or prejudicial variance during trial. Indeed, when the

text messages themselves were introduced earlier in the trial, he

                                      24
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 25 of 35



did not object on these grounds, even though, on his theory, these

text messages concerned Athletic Surgical, not First Medical. Nor,

as noted, did he object to the Government’s remarks on summation,

even though the Court had made clear that objections during closing

arguments should be made, either during the summation itself or at

least immediately thereafter. See Tr. 2093. And he did not object

on these grounds to any element of the jury instructions, even

though Taylor could have, just by way of example, sought a limiting

instruction to clarify for the jury that it should not find Taylor

guilty   on     the   basis   of   the   unalleged   Athletic    Surgical

transaction.6

     Because Taylor therefore failed to raise this argument during

trial, the Court now reviews the claim under the plain error

standard. See United States v. Bastian, 770 F.3d 212, 219 n.3 (2d

Cir. 2014) (“Where a defendant raises a constructive amendment

claim for the first time on appeal, we . . . subject the challenge

to plain error review.”); United States v. Awad, 518 F. Supp. 2d

577, 582 (S.D.N.Y. 2007), aff'd, 369 F. App'x 242 (2d Cir. 2010)

(“The plain error standard used in appellate review applies in the

trial court to post-trial claims that could have been but were not

raised during trial.”); see also United States v. Fusco, No. 09-

cr-1239 (PKC), 2012 WL 4320456, at *4 (S.D.N.Y. Sept. 17, 2012)


6    Of course, whether or not the Court would have given such an
instruction is a separate question.
                                    25
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 26 of 35



(applying     plain    error    review       to    an    unpreserved    constructive

amendment claim presented for the first time during post-trial

proceedings).        Under   the    plain      error     standard,     Taylor     “must

demonstrate that: (1) there is an error; (2) the error is clear or

obvious, rather than subject to reasonable dispute; (3) the error

affected the defendant’s substantial rights, which in the ordinary

case    means   it    affected      the   outcome        of     the   district    court

proceedings; and (4) the error seriously affects the fairness,

integrity or public reputation of judicial proceedings.” United

States v. Degroate, 940 F.3d 167, 174 (2d Cir. 2019). Because

constructive amendments are “per se prejudicial,” the third prong

of    the   plain    error   standard       is     “automatically      satisf[ied].”

Bastian, 770 F.3d at 219 n.4.

       Taylor’s      argument      assumes        that   the    Indictment    charges

misconduct only with respect to four specific MiMedx customers --

CPM, SLR, Stability, and First Medical -- and only a handful of

transactions with respect to those distributors. Taylor Mem. at

16. Because the “grand jury did not indict [him] based on conduct

relating to Athletic Surgical,” id. Taylor concludes that the

Government’s argument at summation allowed the jury to convict him

for    “behavior     entirely      separate       from   that    identified      in   the

indictment.” Bastian, 770 F.3d at 223.

       The Court disagrees with Taylor’s argument and holds that

there has been no constructive amendment, let alone a plain error.

                                          26
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 27 of 35



It is true that the Indictment focuses on four specific MiMedx

customers. For example, the Indictment, in a section entitled

“Overview of the Accounting Fraud Scheme,” states that “from at

least in or about 2015 through at least in or about 2016, [the

defendants] engaged in a scheme to falsely recognize revenue from

four distributers,” and goes on to refer to CPM, SLR, Stability,

and First Medical. Indictment ¶ 19. The Indictment then proceeds

to outline MiMedx’s fraudulent recognition of revenue from each of

these four distributers. See id. ¶¶ 20-30 (CPM); id. ¶¶ 31-42

(SLR); id. ¶¶ 43-52 (Stability); id. ¶¶ 53-59 (First Medical). But

such   “general     factual   allegations     leading     into   the   statutory

allegations       ‘add   nothing   but   gloss,’    and   thus   ‘need   not    be

proved.’” United States v. Gross, No. 15-cr-769 (AJN), 2017 WL

4685111, at *20 (S.D.N.Y. Oct. 18, 2017) (quoting United States v.

Attanasio, 870 F.2d 809, 816-17 (2d Cir. 1989)). Moreover, it is

important    to    remember   that   Taylor   was    convicted    only on      the

conspiracy count. While “the object of a conspiracy constitutes an

essential element of the conspiracy offense,” United States v.

Roshko, 969 F.2d 1, 5 (2d Cir. 1992), “the Government may offer

proof of acts not included within the indictment, as long as they

are within the scope of the conspiracy,” Salmonese, 352 F.3d at

619; see also United States v. LaSpina, 299 F.3d 165, 182 (2d Cir.

2002) (“[T]he Government need not set out with precision each and

every act committed in furtherance of the conspiracy, particularly

                                         27
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 28 of 35



where the acts proven at trial were part of the core of the overall

scheme and in furtherance of that scheme.”).

     Here, the core criminality pleaded in the Indictment was an

accounting fraud scheme, operating between 2015 and 2016, whose

ultimate purposes was to cause MiMedx to report to the investing

public fraudulent inflated revenue figures to ensure that the

reported figures fell within MiMedx’s publicly accounted revenue

guidance, “and to fraudulent convey to the investing public that

MiMedx was accomplishing consistent growth quarter after quarter.”

See Indictment ¶ 19. Unlike the factual gloss, the statutory

allegations   themselves     hardly     make   mention    of    the     four

distributers. The statutory allegations begin with an overview of

the conspiracy charge:

     From at least in or about 2015 through at least in or
     about 2016, in the Southern District of New York and
     elsewhere, Parker H. Petit and William Taylor, the
     defendants, and others known and unknown, willfully and
     knowingly did combine, conspire, confederate and agree
     together and with each other to commit offenses against
     the United States, to wit, securities fraud . . .; making
     false and misleading statements of material fact in
     applications, reports and documents required to be filed
     with the SEC . . .; and improperly influence the conduct
     of audits. . . .

Indictment ¶ 62. The next three paragraphs flesh out the three

alleged objects of the conspiracy: committing securities fraud,

making false filings with the SEC, and improperly influencing the

conduct of audits -- and none mentions any particular distributer

or transaction. See id. ¶¶ 63-65. The following paragraph lists

                                   28
      Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 29 of 35



eight overt acts, but only some of which relate to the four

distributers featured in the factual allegations. See id. ¶ 66.

      Thus, in order for Taylor to prevail on his constructive

amendment    claim,     he     must   show   that    the   Athletic    Surgical

transaction “f[a]lls entirely outside th[is] criminal scheme.”

United States v. Zingaro, 858 F.2d 94, 103 (2d Cir. 1988). That

is,   that   the    Government’s      argument   during    rebuttal   summation

“shifted the core of criminality -- i.e. proved ‘behavior entirely

separate from that identified in the indictment.’” Gross, 2017 WL

4685111, at *23 (quoting Bastion, 770 F.3d at 223).

      Under these circumstances, the Government’s argument during

rebuttal summation regarding Athletic Surgical “hardly constitutes

a constructive amendment of the pleadings.” Salmonese, 352 F.3d at

621 (permitting the Government to prove “other unalleged overt

acts falling squarely within the charged scheme”). Although the

Athletic Surgical transaction was “not specifically pleaded in the

indictment, [it is] plainly within the charged core of criminality

and constitute[s] a permissible alternative basis for proving the

general allegation” that Taylor conspired to, among other things,

mislead MiMedx’s auditors. Id.

      A comparison to a case where the Second Circuit has found a

constructive       amendment    is    instructive.    In   United     States   v.

Zingaro, the indictment described a “series of unlawful gambling

debt collections at various Yonkers social clubs.” United States

                                        29
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 30 of 35



v. Rosenthal, 9 F.3d 1016, 1022 (2d Cir. 1993) (describing Zingaro,

858 F.2d at 94). At trial, however, the Government “introduced

proof of the unlawful collection of a debt that was not mentioned

in the indictment and that was unrelated to the activities of the

identified    [Yonkers]       social   clubs.”      Id.        The   Zingaro    Court

concluded that there had been a constructive amendment because the

evidence of an uncharged debt “fell entirely outside the criminal

scheme” alleged    in    the    indictment,       and    the    defendant had         no

“inkling” that he was charged with criminal activity with respect

to the unalleged debt collection. Id. Also relevant to the Zingaro

court’s holding was the fact that the district court twice refused

the defense’s request for a limiting instruction that would have

clarified that evidence of the unalleged debt collection, even if

relevant   for   some   other    purpose,        “was    not    admissible      as    an

independent   basis     for    the   jury   to    find    loansharking         or    the

collection of unlawful debt.” Zingaro, 858 F.2d at 97.

     What happened in this case is light years from what happened

in Zingaro. There, the Government introduced evidence that enabled

the jury to find the defendant guilty for conduct utterly unrelated

to the charged conspiracy; here, the Government briefly adverted

to the defense’s theory of some evidence that, at the most, perhaps

allowed the jury to find Taylor guilty for unalleged conduct

squarely within the core criminality of the Indictment. There, the

district court twice refused the defense’s request to provide the

                                       30
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 31 of 35



jury a limiting instruction; here, the defense never raised the

issue, let alone sought a limiting instruction from the Court.

     Even assuming arguendo that the Athletic Surgical transaction

fell entirely outside the alleged conspiracy (which it does not),

the jury instructions in this case nevertheless prevented against

a constructive amendment. “[A] district court’s jury instructions

are of primary importance in a constructive amendment analysis.”

Gross, 2017 WL 4685111, at *23. Indeed, although the Second Circuit

has not squarely addressed the issue, other circuits have held

that a constructive amendment “cannot happen solely because of the

evidence presented at trial, but that both the evidence and the

jury instructions must amend the indictment.” Id. at *23 n.29

(citing United States v. Mize, 814 F.3d 401, 409 (6th Cir. 2016)).7

Regardless whether the Government’s evidence on its own could in

theory give rise to a constructive amendment, it remains the case

that constructive amendments are less likely to occur where the

jury instructions do not “clearly allow[] the jur[y] to convict on

offenses other than those charged. See United States v. Clemente,

22 F.3d 477, 483 (2d Cir. 1994). Here, “[r]eviewing the charge in

its entirety and not on the basis of excerpts taken out of




7    While the Second Circuit recently considered as two
independent issues whether the district court’s jury instructions
or the Government’s evidence amounted to a constructive amendment,
the panel did not conclude that the Government’s evidence by itself
gave rise to a constructive amendment. See Dove, 884 F.3d at 147.
                                   31
        Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 32 of 35



context,” id., the jury instructions state that “the indictment

alleges that, in 2015, Mr. Petit and Mr. Taylor entered into

agreements with four distributors -- CPM, SLR, First Medical, and

Stability -- to hide the fact that, as to certain sales to those

distributors, the criteria for revenue recognition were not met

and   therefore the      revenue from      those   sales   was not   properly

recorded under Generally Accepted Accounting Principles (‘GAAP’).”

Dkt. No. 17. Because the jury instructions clearly identify the

four distributers at issue in this case and do not mention Athletic

Surgical, the Court finds that there is no “substantial likelihood”

that Taylor may have been convicted on the basis of the Athletic

Surgical evidence.

      In sum, because the Government’s argument during rebuttal

summation “concerned the same elaborate scheme . . . as was

described in the indictment,” United States v. Dupree, 462 F.3d

131, 140-41 (2d Cir. 2006), and because the jury instructions did

not in any event clearly allow the jury to convict on the basis of

the Athletic Surgical transaction, Clemente, 22 F.3d at 483, the

Court    holds    that   the   Government’s    argument     during   rebuttal

summation did not constructively amend the Indictment -- much less

constitute the requisite plain error that Taylor would need to

warrant a new trial.

      At most, then, the Government’s argument during summation

amounted to a variance from the charges in the Indictment. “A

                                      32
       Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 33 of 35



defendant cannot demonstrate that he has been prejudiced by a

variance        where   the    pleading         and     the    proof        substantially

correspond, where the variance is not of a character that could

have misled the defendant at the trial, and where the variance is

not such as to deprive the accused of his right to be protected

against another prosecution for the same offense.” Salmonese, 352

F.3d at 621-22.

       Taylor     contends     that   he   was        prejudiced      by    the    Athletic

Surgical argument because “did not know his trial would have

anything    to     do   with   Athletic     Surgical          until    the       government

disclosed its exhibits on the eve of trial.” Taylor Mem. at 16.

Taylor also points to Jury Note 7, where the jury asked: “If we

find that a defendant (1) had intent to mislead the auditors, and

(2) knew that misleading the auditors would operate as a deceit

upon purchasers or sellers of MiMedx stock, does that imply that

he had intent to deceive purchases or sellers of MiMedx stock?”

Tr. 2525. Given the jury’s verdict convicting Taylor of conspiracy

and acquitting him of securities fraud, Taylor speculates that

Jury Note 7 “may well have referred to Mr. Taylor, which suggests

that the basis for its verdict was a finding that Mr. Taylor was

part   of   a    conspiracy     to    mislead     auditors      but        not    to   commit

securities fraud . . . [and] that the government’s change in theory

related to the precise issue on which the jury reached its guilty

verdict as to Mr. Taylor.” Id.

                                           33
      Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 34 of 35



      The Court concludes, however, that, even assuming arguendo

that there was a variance, Taylor has not established that he was

prejudiced. For one thing, the Government consistently argued

throughout the trial, including during rebuttal summation, that

the text messages concerned First Medical, not Athletic Surgical.

Indeed, immediately after making the comments at issue in this

motion, the Government pivoted back to its primary theory: that,

notwithstanding the defense’s theory of the case, “Bill Taylor was

obviously talking about First Medical.” See Tr. 2459. Accordingly,

the Court finds that the pleading and the proof substantially

corresponded. Moreover, there is no “indication in the record that

the evidence adduced at trial unfairly surprised [Taylor].” United

States v. Kaplan, 490 F.3d 110, 130 (2d Cir. 2007); see also United

States v. Ng Lap Seng, No. 15-cr-706 (VSB), 2018 WL 2287101, at

*15 (S.D.N.Y. May 9, 2018) (observing that the defendant’s “claims

of surprise are further undermined by the fact that he never raised

the   issue    of     the   Government’s     purportedly   new   theory   at

trial . . .”). In addition, aside from citing to the relevant

standard, Taylor has not made any argument that the Government’s

rebuttal summation would somehow deprive him of his right against

double jeopardy. And, as already mentioned, the jury instructions

further reduce any potential prejudice against Taylor. Therefore,

the   Court   holds    that   Taylor   has   not   established   substantial

prejudice caused by any supposed variance in the proof at trial

                                       34
     Case 1:19-cr-00850-JSR Document 151 Filed 02/21/21 Page 35 of 35



and the Indictment -- and certainly no prejudice so obvious as to

amount to plain error.

     Accordingly, the Court denies Taylor’s motion for a new trial

based on a constructive amendment or prejudicial variance.

                               Conclusion

     For the foregoing reasons, the defendants’ respective motions

for a judgment of acquittal and, in the alternative, for a new

trial, are denied. The Clerk of the Court is directed to close the

entries at docket numbers 123 and 125.

  SO ORDERED

Dated:    New York, NY
          February 21, 2021




                                   35
